8:09-cr-00081-BCB-SMB        Doc # 332     Filed: 06/30/14    Page 1 of 2 - Page ID # 1366




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:09CR81
                                              )
              Plaintiff,                      )
                                              )                MEMORANDUM
              vs.                             )                 AND ORDER
                                              )
KENNY DOFNER,                                 )
                                              )
              Defendant.                      )

       This matter is before the Court on the motion filed by the Defendant, Denny Dofner,

to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255(f)(3) (“§ 2255

motion”) (Filing No. 331).

       On October 29, 2013, this Court denied the Defendant’s previous § 2255 motion.

(Filing Nos. 317, 318.) When a second § 2255 motion is filed:

       A second or successive motion must be certified as provided in section 2244
       by a panel of the appropriate court of appeals to contain–

              (1) newly discovered evidence that, if proven and viewed in light of the
              evidence as a whole, would be sufficient to establish by clear and
              convincing evidence that no reasonable factfinder would have found
              the movant guilty of the offense; or

              (2) a new rule of constitutional law, made retroactive to cases on
              collateral review by the Supreme Court, that was previously
              unavailable.

28 U.S.C. § 2255.

       Therefore, the Defendant must proceed accordingly with the Eighth Circuit Court of

Appeals. Without the required certification from the Eighth Circuit, this Court cannot

consider the merits of the Defendant’s second § 2255 motion and the pending motion will

be denied.
8:09-cr-00081-BCB-SMB       Doc # 332     Filed: 06/30/14    Page 2 of 2 - Page ID # 1367




       IT IS ORDERED:

       1.     The Defendant’s motion to vacate, set aside, or correct his sentence pursuant

to 28 U.S.C. § 2255 (f)(3) (Filing No. 331) is denied;

       2.     A separate Judgment will be issued denying the § 2255 motion; and

       3.     The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at his last known address.

       DATED this 30th day of June, 2013.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 Chief United States District Judge
